          Case 1:19-cv-08793-ALC Document 54 Filed 11/15/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       November 15, 2021

 DELROY ASKINS,
                                 Plaintiff,

                     -against-                                19-CV-8793 (ALC)


 PHILIP WEINBERG ET AL.,                                      ORDER

                                 Defendants.


ANDREW L. CARTER, JR., United States District Judge:

   The Court is in receipt of Plaintiff’s request that the December 1, 2021 pre-motion conference

be held in person. This request is denied. The conference will remain telephonic.

   Plaintiff’s letter states that Plaintiff’s deadline to respond to Defendants’ pre-motion

conference request was extended to November 9, 2021. To date, the Court is not in receipt of an

extension request from Plaintiff. In advance of the conference, Plaintiff shall respond by letter to

the arguments in Defendants’ pre-motion conference letter. Plaintiff's response shall be filed no

later than Wednesday, November 24, 2021.

   Defendants are directed to serve a copy of this order on Plaintiff and file proof of service no

later than November 16, 2021.

SO ORDERED.

Dated: November 15, 2021                             ___________________________________
       New York, New York                                  ANDREW L. CARTER, JR.
                                                           United States District Judge
